           Case 1:15-cr-00379-PKC Document 255 Filed 03/03/21 Page 1 of 2




                   MOSKOVVITZ                       &      BOOK              LLP


                                                                          345 Seventh Avenue, 21st Floor
Avraham C. Moskowitz                                                               New York, NY 10001
AMoskowitz@mb-llp.com                                                             Phone: (212) 221-7999
                                                                                     Fax: (212) 398-8835
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                                                        March 3, 2021
By ECF and Email
Hon. P. Kevin Castel
U.S. District Judge
U.S. Courthouse
500 Pearl Street
New York, NY 10007


                Re:     United States v. Geovanny Fuentes Ramirez
                                S6 15 Cr. 379 (PKC)


Dear Judge Castel:


                This letter is respectfully submitted on behalf of the defendant, Geovanny Fuentes
Ramirez, to request a brief adjournment of the trial and the authorization of additional funding for
certified Spanish interpreters to translate voluminous Spanish language discovery recently
produced by the Government.


                At 10:24 p.m. on March 2, 2021, the Government produced to the defense more
than fifty new jail calls in Spanish, without summary translations or transcriptions and without
even identifying whose calls they were, although a random sampling of the calls indicates that at
least some of the calls were made by the defendant. The government also produced three hundred
and thirteen pages of emails sent or received by the defendant in the Spanish language, again
without translation. Simply put, there is no way that defense counsel can arrange to have the new
materials translated and reviewed before the start of the trial, now scheduled for Monday March 3
and accordingly, the defense requests that the Court adjourn the trial for a week to enable counsel
to have the tapes and emails translated and reviewed. If the Court insists on moving ahead with the
trial as currently scheduled, it is respectfully requested that the Court preclude the Government
from introducing any of the newly produced phone calls and emails into evidence. Moreover, if
the telephone calls produced relate to one or more of the Government's cooperating witnesses, the
Government should be precluded from calling such witnesses at the trial until such time as the
defense has been able to obtain and review translations of the conversations.

               Finally, it is respectfully requested that the Court authorize defense counsel to
retain the services of one or more certified Spanish interpreters to listen to, transcribe and translate
the newly produced phone calls and translate the emails. I have spoken to Elizabeth Caruso, a
certified Spanish interpreter regularly used by both the Government and the defense in cases in
this district, and she informed me that given the short timeframe to do the work before trial, the
cost would be $105 per hour, which is apparently the rush fee approved under the CJA Act. Ms.
           Case 1:15-cr-00379-PKC Document 255 Filed 03/03/21 Page 2 of 2
Honorable P. Kevin Castel
March 3, 2021
Page 2



Caruso also advised that given the volume of the work, she would not be able to complete it all by
herself before trial and thus would need the assistance of at least one, if not more interpreters.


                Thank you in advance for your consideration of this request.


                                                Respectfully submitted,


                                                 Q. �
                                                Avraham C. Moskowitz
cc: All counsel of Record (by email)
